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               IN THE UNITED STATES BANKRUPTCY COURT

               IN AND FOR THE DISTRICT OF DELAWARE


New Century TRS Holdings, Inc.,          ) Case No. 07-10416 KJC
     et al.,                             ) Chapter 11
                                         ) Jointly Administered
                     Debtors,            )
                       CERTIFICATE OF SERVICE

     I, Kristi J. Doughty, hereby certify this 1st day of August,

A.D. 2007 that service of the Notice of Motion, Motion, Exhibits

and proposed Order was made electronically and (via) first class

mail to the following:


New Century TRS Holdings, Inc.
18400 Von Karman Ave.
Irvine, CA 92612
Debtor

Mark D. Collins, Esq.
Richards, Layton & Finger, P.A.
One Rodney Square
P.O. Box 551
Wilmington, DE 19899
Attorney for Debtor

United States Trustee
844 King Street, Room 2207
Lockbox #35
Wilmington, DE 19899-0035

Bonne Glantz Fatell, Esq.
Blank Rome LLP
1201 Market Street, Suite 800
Wilmington, DE 19801
Attorney for Official Committee
of Unsecured Creditors
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Cynthia T. Gaydos
561 Downing Lake Drive
High Springs, FL 32643
Borrower



                    By:    /s/ Kristi J. Doughty
                           Robert T. Aulgur, Jr. (No. 165)
                           313 N. DuPont Hwy., Suite 110
                           P.O. Box 617
                           Odessa, DE 19730-1617
                           (302) 378-1661
                           Attorney for Movant
